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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                  Plaintiff,               )                  4:09CR3134
                                           )
           v.                              )
                                           )
KORINA KIT KUCERA,                         )       MEMORANDUM AND ORDER
                                           )
                  Defendant.               )
                                           )


     At the defendant’s request and with the government’s consent,

     IT IS ORDERED:

     1)    The defendant’s change of Plea Hearing is continued to April 7, 2010 at
           10:30 A.M.

     2)    The ends of justice served by granting the defendant’s request to change the
           plea hearing outweigh the interests of the public and the defendant in a speedy
           trial, and the additional time arising as a result of the granting of the motion,
           the time between today’s date and the anticipated plea of guilty, shall be
           deemed excluded in any computation of time under the requirements of the
           Speedy Trial Act, for the reason that defendant’s counsel requires additional
           time to adequately prepare the case, taking into consideration due diligence of
           counsel, the novelty and complexity of the case, and the fact that the failure to
           grant additional time might result in a miscarriage of justice. 18 U.S.C. §
           3161(h)(7).

     DATED this 2 nd day of April, 2010.

                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge
